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                                                     UNITED STATES DISTRICT COURT
                                                     SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO.: 18-CV-24100-COOKE/
                                                                GOODMAN

  DIGNA VINAS,

         Plaintiff,

  vs.

  THE INDEPENDENT ORDER OF
  FORESTERS,

        Defendant.
  ______________________________/

              EXPEDITED UNOPPOSED MOTION FOR CLARIFICATION
                      OF COURT ORDERS DE 66 AND DE 68

         Plaintiff, Digna Vinas (“Vinas”), by and through undersigned counsel and pursuant to

  S.D. Fla. L.R. 7.1(d)(2) and the Court’s Paperless Orders (DE 66 and 68), hereby moves this

  Court for Clarification of its Paperless Orders, DE 66 and 68, and states:

         1.      Undersigned counsel has spent the last three days preparing his Declaration

  and Memorandum in compliance with the Court’s Paperless Orders (DE 66 and 68). While

  the documents are almost ready to be filed, undersigned estimates approximately another

  three hours will be necessary.

         2.      Today, April 3, 2020 at 10:13 a.m., opposing counsel contacted undersigned

  and advised that Defendant, Foresters, had agreed to pay the full amount of the life insurance

  benefit at issue as well as all accrued interest up through payment of the benefit. The parties

  are still discussing the issue of consequential damages, fraud, and the amount of costs and

  attorney’s fees. Defendant’s payment, however, will resolve a very large portion of the case,
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  including the subpoena discovery issues the Court is presently considering as part of DE 66

  and 68.

          3.       Undersigned has practiced before this Court for a number of years, however,

  and knows that whole or partial settlement of an issue or the case might not eliminate this

  Court’s desire to continue to address the issues raised in both Paperless Orders. As such,

  undersigned did not want to be so presumptuous as to assume the parties were relieved of

  their respective obligations under those Orders. This is especially so as there is still a potential

  the parties may disagree as to the amount of attorney’s fees to be paid, an issue which may

  fall on this Court to resolve.

          4.       An expedited ruling is needed on this matter so the parties may know if the

  Court wishes them to continue to comply with the Court’s Paperless Orders, DE 66 and 68,

  the first compliance, which is due to be filed by Plaintiff today.

          WHEREFORE, Plaintiff, Digna Vinas, requests clarification given the above

  circumstances as to whether the Court wishes the parties to continue to comply with the

  Court’s instructions in Paperless Orders DE 66 and 68.

                                   S.D. Fla. L.R. 7.1(a)(3) Certificate

          Undersigned counsel certifies that counsel for Defendant has been contacted with respect

  to the relief requested herein and is authorized to represent that the Defendant does not oppose the

  relief sought.




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        I HEREBY CERTIFY that on April 3, 2020, the foregoing document was served via

  the CM /ECF system to Kristina B. Pett, Esq., Danielle Shure, Esq., McDowell Hetherington

  LLP, Attorneys for Defendant, 2101 N.W. Corporate Blvd. Suite 316, Boca Raton, FL 33431,

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                                                  KRAMER, GREEN, ZUCKERMAN,
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                                                  By:          / s/ Craig M. Greene______
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                                                        Fla. Bar No. 618421
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                                                  and

                                                  Adrian Neiman Arkin, Esq.
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